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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ALMA KOSS; WANDE WENTE, by and
through her next friend Virginia Hartman;
MARY SMALL, by and through her next
friend Brian Small; LESSIE HARRIS, by and
through her next friend Opal Acklin; and
BERTA CHRISTMAN; individually and on
behalf of a class of similarly situated,

Plaintiffs,
vs.

FELICIA F. NORWOOD, in her official capacity
as Director of the Illinois Department of
Healthcare and Farnily Services; and JAMES T.
DIMAS, in his official capacity as the Secretary of
the Illinois Department of Hurnan Services

Defendants.

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No. 17-2762
Judge: loan B. Gottschall

Magistrate: Young B. Kirn

NOTICE OF VOLUNTARY DISMISSAL AS TO PLAINTIFF BERTA CHRISTMAN

Pursuant to Federal Rules of Civil Procedure 41(a)(l)(A)(i), the Plaintiff Berta Christrnan

files this Notice of Voluntary Dismissal and dismisses her action against the Defendants.

Robert H. Farley, Jr.
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/s/ Robert H. Farleyz Jr.

One of the Attorneys for
Plaintiffs

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CERTIFICATE OF SERVICE

I, Robert H. Farley, Jr., Attorney for the Plaintiffs, deposes and states that he Will cause
the foregoing Notice of Voluntary Disrnissal as to Plaintiff Berta Christrnan to be served by
electronically filing said document with the Clerk of the Court using the CM/ECF system, this
22nd day of May, 2017.

/s/ Robert H. Farley, Jr.
One of the Attorneys for

the Plaintiffs

